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               UNITED STATES. DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF MICHIGAN

SAFETY SPECIALTY INSURANCE
COMPANY, and SAFETY NATIONAL
CASUALTY COMPANY,
                 Plaintiff,
v.

COUNTY OF GENESEE by its BOARD                No.
OF COMMISSIONERS; DEBORAH
CHERRY; THOMAS A. FOX; and
TAMMY PUCHLAK, as trustee of the
WALTER PUCHLAK REVOCABLE
TRUST AGREEMENT DATED
FEBRUARY 24, 2010,
                 Defendants.

            COMPLAINT FOR DECLARATORY JUDGMENT
     NOW COME the Plaintiffs SAFETY SPECIALTY INSURANCE

COMPANY (“Safety Specialty”), and SAFETY NATIONAL CASUALTY

COMPANY (“Safety National”), by their attorneys, Richard C. Rezie, Adam P.

Sadowski, John D. Hackett, and Christopher C. Cassidy, and for their Complaint

for Declaratory Judgment against Defendants, COUNTY OF GENESEE by its

BOARD OF COMMISSIONERS (“Genesee County”), DEBORAH CHERRY

(“Cherry”); THOMAS A. FOX (“Fox”); and TAMMY PUCHLAK (“Puchlak”), as
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trustee of the WALTER PUCHLAK REVOCABLE TRUST AGREEMENT

DATED FEBRUARY 24, 2010, pursuant to 28 U.S.C. §§2201 and 2202, and Rule

57 of the Federal Rules of Civil Procedure, state as follows:


                                INTRODUCTION
      1.     This is an action for declaratory judgment pursuant to 28 U.S.C.

§§2201 and 2202, and Rule 57 of the Federal Rules of Civil Procedure. The

Plaintiffs seek a declaration that they have no duty to defend or indemnify Genesee

County and Cherry under the insurance policies described in this Declaratory

Judgment Complaint in regards to the underlying lawsuits filed by Fox in the

United States District Court for the Eastern District of Michigan as Case No. 19-

cv-11887 (“Fox Lawsuit”), and by Puchlak in St. Clair County Circuit Court as

Case No. 18-002853-CZ (“Puchlak Lawsuit”).

                                  THE PARTIES

      2.     Safety Specialty is a Missouri corporation doing business in the State

of Michigan as a surplus lines insurance company.

      3.     Safety National is a Missouri corporation doing business in the State

of Michigan as a surplus lines insurance company.

      4.     Genesee County is a county in the State of Michigan.

      5.     At the time of the events described in this Complaint, Deborah Cherry

was the Treasurer for the Genesee County and a resident of the State of Michigan.


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      6.    At the time of the events described in this Complaint, Thomas A. Fox

was a resident of, and land owner within, Gratiot County, Michigan. Fox has been

added as a party defendant to this action such that he will be bound by the

coverage declarations to issue from this Court.

      7.    At the time of the events described in this Complaint, Tammy

Puchlak, as trustee of the Walter Puchlak Revocable Trust Agreement Dated

February 24, 2010, was a resident of, and land owner within, St. Clair County,

Michigan. Puchlak has been added as a party defendant to this action such that she

will be bound by the coverage declarations to issue from this Court.

                         JURISDICTION AND VENUE

      8.    This Complaint is brought pursuant to 28 U.S.C. §§2201 and 2202,

and Rule 57 of the Federal Rules of Civil Procedure.

      9.    An actual justiciable controversy exists between the Plaintiffs, on the

one hand, and Genesee County, Cherry, Fox, and Puchlak, on the other hand,

within the meaning of 28 U.S.C. §2201 regarding whether the Plaintiffs have

duties to defend and indemnify Genesee County, Cherry, Fox and Puchlak under

the insurance policies described in this Declaratory Judgment Complaint in regards

to the underlying Fox and Puchlak lawsuits, as more particularly described below.

      10.   This Court has diversity jurisdiction pursuant to 28 U.S.C.

§1332(a)(1) because the amount in controversy exceeds the sum or value of



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$75,000, exclusive of interest and costs, and the suit is between citizens or entities

of different states.

       11.    Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), (c) and

(d).

                              THE FOX LAWSUIT

       12.    On June 25, 2019, Fox filed a lawsuit against fourteen Michigan

counties and their respective county treasurers in the United States District Court

for the Eastern District of Michigan as Case No. 19-cv-11887.

       13.    On September 4, 2019, Fox filed a First Amended Complaint, which

added 13 additional Michigan counties (“Defendant Counties”) and their respective

treasurers as party defendants, including for the first time Genesee County and its

treasurer, Cherry. A copy of the First Amended Fox Complaint is attached hereto

as Exhibit “A.”

       14.    In general terms, Fox has alleged that the Defendant Counties and

treasurers have abused the Michigan tax foreclosure process by foreclosing on

parcels of land in order to satisfy outstanding unpaid property taxes, selling those

properties at prices that are below the properties’ respective fair market value, and

keeping all of the excess funds/surplus equity for themselves, such that the

property owners lose all of the equity that the former landowners had invested in




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these properties, minus the amount of their unpaid tax bills and costs associated

with the foreclosure sales.

      15.    Specifically, Fox has alleged that he was the owner of 109 South

Court Avenue in Alma, Michigan and Gratiot County (the “Fox Property”).

      16.    Fox has also alleged that the Fox Property accrued a tax delinquency

of approximately $3,091.23, an amount that included the past due tax owed plus

additional compounding interest, fees, penalties, and costs.

      17.    Fox has further alleged that, on or about February 21, 2017, Gratiot

County’s treasurer seized the Fox Property on behalf of Gratiot County.

      18.    According to the Fox Lawsuit, as of the date the Fox Property was

seized, the Fox Property had a State Equalized Value of $25,200, and the State

Equalized Value of a seized property is roughly one-half of the property’s fair

market value.

      19.    Fox alleged that the Fox Property was sold on Gratiot County’s behalf

at a tax auction in which the winning bid was $25,500, such that the difference

between what he owed as a tax delinquency and what Gratiot County received

from the tax sale was $22,408.77.

      20.    Fox alleged that Gratiot County seized $22,408.77 in equity upon the

tax sale of the Fox Property, and failed to pay him just compensation for said

seized equity; that neither Gratiot County nor its treasurer initiated a condemnation



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action to wrest the $22,408.77 in equity from him; and that neither Gratiot County

nor its treasurer afforded him any process, plan, or legal mechanism such that he

could seek the return of the $22,408.77 in seized equity for the Fox Property.

       21.    Fox has alleged that all the Michigan counties named as defendants in

the Fox Lawsuit and their respective treasurers (collectively, the “Fox Defendant

Counties”) have seized equity from other unnamed delinquent tax payers in the

same fashion as Gratiot County and Thomas did with regard to the Fox Property.

       22.    Fox also alleged that the Fox Defendant Counties made the

affirmative, voluntary, and discretionary decision to select and designate their

respective treasurers as Foreclosing Governmental Units, which administer the tax

delinquency foreclosure and auction process such that the Fox Defendant Counties

retain the full amount of the tax sale proceeds, even if those proceeds exceed the

amount of the tax delinquency of the property’s former owner, and never

compensate the former owner for their lost equity, nor provide the former owner

with a process, plan, or legal mechanism by which the former owner can secure a

return of that lost equity.

       23.    The Fox Lawsuit seeks to certify a class of real property owners in the

Fox Defendant Counties who, during the relevant statutorily-limited period, had

their real property seized and sold by the Fox Defendant Counties for various tax




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delinquencies, and who were denied compensation for the prices realized in these

sales that exceeded the tax debt that each former property owner owed.

      24.    In the Fox Lawsuit, Fox characterized the taking and forfeiture of the

excess equity realized in these tax sales as unconstitutional in regard to both the

Michigan and United States Constitutions.

      25.    Count I of the Fox Lawsuit, subtitled “Taking – Fifth/Fourteenth

Amendment Violation, 42 U.S.C. Section 1983 and Section 1988,” asserts that the

Fox Defendant Counties, in their respective tax sales, have taken the equity that

they realized over and above the tax delinquency both Fox and the members of the

putative class owed; misappropriated this property interest for public use without

the payment of just compensation in violation of the Fifth and Fourteenth

Amendments to the United States Constitution; and deprived Fox and the members

of the putative class of their constitutional rights to just compensation in violation

of the Fifth and Fourteenth Amendments to the United States Constitution and 42

U.S.C. Section 1983 and Section 1988.

      26.    Count II of the Fox Lawsuit, subtitled “Taking – Fifth/Fourteenth

Amendment Violation ‘Arising Directly’ Under the Fifth Amendment,” asserts that

the Fox Defendant Counties, in their respective tax sales, have taken property

interests in the form of unreimbursed equity from Fox and the members of the

putative class; appropriated these property interests for public use without payment



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of just compensation in violation of the Fifth and Fourteenth Amendments of the

United States Constitution; and refused to provide just compensation for the

seizure of equity from Fox and the members of the putative class.

      27.    Count III of the Fox Lawsuit, subtitled “State Law – Inverse

Condemnation,” asserts that the Fox Defendant Counties, in their respective tax

sales, have taken property interests in the form of unreimbursed equity from Fox

and the members of the putative class, and have appropriated these property

interests for public use without payment of just compensation and without using

any direct condemnation processes, such as those outlined by the Uniform

Condemnation Procedures Act, MCL 213.51, et seq.; and that the Fox Defendant

Counties’ failure to provide Fox and the members of the putative class an

opportunity to claim the unreimbursed equity in their respective properties after a

tax sale constitutes an “inverse condemnation with damages.”

      28.    Count IV of the Fox Lawsuit, subtitled “State Law – Violation of

Michigan Constitution Article X, Section 2,” asserts that the Fox Defendant

Counties, in their respective tax sales, have taken property interests in the form of

unreimbursed equity from Fox and the members of the putative class, and have

appropriated these property interests for public use without payment of just

compensation and without using any direct condemnation processes, such as those

outlined by the Uniform Condemnation Procedures Act, MCL 213.51, et seq.; and



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that the Fox Defendant Counties’ failure to provide Fox and the members of the

putative class an opportunity to claim the unreimbursed equity in their respective

properties after a tax sale constitutes an “inverse condemnation with damages.”

      29.    Count V of the Fox Lawsuit, subtitled “Violation of the Eighth

Amendment 42 U.S.C. §1983, asserts that it was pled to the extent that the Fox

Defendant Counties argue that Fox or the members of the putative class “forfeited”

or “relinquished” property pursuant to the Michigan General Property Tax Act’;

and that the Fox Defendant Counties’ retention of equity over and above the tax

delinquency that both Fox and the members of the putative class owed is “punitive

and not remedial.”

      30.    Count VI of the Fox Lawsuit, subtitled “42 U.S.C. §1983 – Violation

of Procedural Due Process,” asserts that Fox and the putative class members have

(or had) a constitutionally protected property interest in the equity of their

respective properties; and that the Fox Defendant Counties have denied Fox and

the putative class members their constitutionally protected property rights by

failing to provide a procedure for Fox and the putative class members to secure a

refund of any equity that is realized over and above the tax delinquency that both

Fox and the members of the putative class owed after their properties are sold at a

tax auction, or after the seizure of such property in anticipation of same.




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      31.    Count VII of the Fox Lawsuit, subtitled “42 U.S.C. §1983 – Violation

of Substantive Due Process,” asserts that the Fox Defendant Counties’ conduct in

regard to the seizure and tax sale of the real property of persons who are delinquent

in the payment of their taxes has deprived Fox and the putative class members of

their constitutionally protected right to the equity of their seized properties.

      32.    Count VIII of the Fox Lawsuit, subtitled “Unjust Enrichment,” asserts

that the Fox Defendant Counties have illegally seized equity from Fox and the

putative class members.

                            THE PUCHLAK LAWSUIT

      33.    On November 27, 2018, Puchlak, as Trustee of the Walter Puchlak

Revocable Trust Agreement Dated February 24, 2010, filed suit against five

Michigan counties and their respective county treasurers (including Genesee

County and its treasurer, Cherry) in the Circuit Court for the County of St. Clair,

Michigan as Case No. 18-002853-CZ (“Puchlak Lawsuit”). A copy of the Puchlak

Class Action Complaint is attached hereto as Exhibit “B.”

      34.    Puchlak has alleged that the Walter Puchlak Revocable Trust

Agreement Dated February 24, 2010, by Puchlak as its trustee, was the owner of

11172 Oatman Road in Brockway, Michigan and St. Clair County (the “Puchlak

Property”), and that the Puchlak Property accrued a tax delinquency of

approximately $9,600.



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        35.   Puchlak has also alleged that, on or about August 2, 2016, St. Clair

County’s treasurer seized the Puchlak Property on behalf of St. Clair County.

        36.   According to the Puchlak Lawsuit, as of the date the Puchlak Property

was seized, the Puchlak Property had a State Equalized Value of $117,500, and the

State Equalized Value of a seized property is roughly one-half of the property’s

fair market value.

        37.   Puchlak alleged that the Puchlak Property was sold on St. Clair

County’s behalf at a tax auction in which the winning bid was the reduced, non-fair

market price of $150,000; that the St. Clair County Treasurer kept the $140,400

difference between the tax auction price and the total tax delinquency owed by

Puchlak with regard to the Puchlak Property; and neither the treasurer nor St. Clair

County provided a refund of the excess or surplus equity realized during the tax

sale.

        38.   Puchlak seeks to represent a class consisting of all property owners

who, within during the relevant statutorily-limited time period, had a property

seized by a county treasurer from the counties of Huron, Sanilac, St Clair, Lapeer,

and Genesee (the “Puchlak Defendant Counties”) which was which was sold at tax

auction for more than the total tax delinquency and was not refunded the excess

equity.




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      39.   Count I of the Puchlak Lawsuit, subtitled “Inverse Condemnation,”

asserts that the Puchlak Defendant Counties have taken federally constitutionally-

protected property of Puchlak and the putative class members in the form of equity

and/or monies beyond the amount of unpaid taxes and administrative expenses,

costs and interest owed, and have appropriated said monies for public use without

the payment of just compensation; and that the Puchlak Defendant Counties have

taken federally constitutionally-protected property of Puchlak and the putative

class members in the form of equity and/or monies beyond the amount of unpaid

taxes and administrative expenses, costs, and interest owed, and have appropriated

said monies for public use without using the mandatory processes outlined under

the Uniform Condemnation Procedures Act, MCL 213.51, et seq.

      40.   Count II of the Puchlak Lawsuit, subtitled “Excessive Fine – Eighth

Amendment Violation – 42 U.S.C. §1983,” asserts that the Puchlak Defendant

Counties’ imposition and retention of excessive fines in the form of the forfeiture

of the equity interests that Puchlak and the putative class members had in their

respective properties violates the rights that Puchlak and the putative class

members are afforded under the Eighth Amendment to the United States

Constitution.

      41.   Count III of the Puchlak Lawsuit, subtitled “Excessive Fine – Const.

1963, Art. 1, §16,” asserts that the forfeiture of equity beyond the already imposed



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monetary punishments of the Michigan General Property Tax Act is a fine subject

to the limitation of Article 1, Section 16 of the Michigan Constitution.

                         THE INSURANCE POLICIES

  The Safety Specialty Public Officials and Employment Practices Liability

                                       Policy

      42.    Safety Specialty issued its claims made and reported Public Officials

and Employment Practices Liability (“PO&EPL”) Policy No. POC4056122 to

Genesee County for the policy period of December 15, 2018 to December 15,

2019. A copy of this policy is attached hereto as Exhibit “C.”

      43.    Safety Specialty’s PO&EPL Policy has Limits of Liability of $2

million Each Wrongful Act and $2 million in the Policy Aggregate, which are

subject to a Self-Insured Retention of $350,000 Each Wrongful Act including

Claims Expenses.

      44.    Safety Specialty’s PO&EPL Policy, provides, in relevant part, as

follows:

            PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES
                     LIABILITY COVERAGE FORM
                      CLAIMS MADE AND REPORTED
                                    ***
      NOTICE: THIS POLICY IS A CLAIMS-MADE POLICY
      WHICH PROVIDES LIABILITY COVERAGE ONLY IF A
      CLAIM IS MADE AND REPORTED DURING THE POLICY
      PERIOD OR ANY APPLICABLE EXTENDED REPORTING


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     PERIOD. PLEASE REVIEW THE POLICY CAREFULLY AND
     DISCUSS THE COVERAGE WITH YOUR INSURANCE
     AGENT OR BROKER.
     Various provisions in this policy restrict coverage. Read the entire
     policy carefully to determine the Insured’s rights and duties, and
     what is and is not covered.
     Titles are used within this policy for convenience only and shall not
     control or affect the meaning or construction of any provision of this
     policy.
     Other words and phrases that appear in bold have special meaning.
     Refer to SECTION VII - DEFINITIONS.
     In consideration of the payment of the premium, in reliance upon the
     statements in the written application for insurance and subject to all of
     the terms of this policy, the Company and the Insured agree as
     follows:
     SECTION I – COVERAGES
     1.    Insuring Agreement
           The Company will pay on behalf of the Insured those
           Damages resulting from a Wrongful Act to which this
           insurance applies. The Claim must be first made during the
           Policy Period and reported to the Company in compliance
           with SECTION IV - GENERAL CONDITIONS, Item 7. or
           any applicable reporting period under SECTION V -
           EXTENDED REPORTING PERIOD.
           The Wrongful Act must take place in the Policy Territory and
           must occur:
           A.     During the Policy Period; or
           B.     Subsequent to the Retroactive Date, if any, stated in the
                  Declarations of this policy, but only if:
                  (1)   The Insured did not give notice relating to the
                        Wrongful Act under any other policy of
                        insurance; and




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                 (2)   Before the effective date of this policy, no Insured
                       knew or had a basis to believe that the
                       circumstances of such Wrongful Act might
                       reasonably be expected to result in or give rise to a
                       Claim …
     2.    Defense, Self-Insured      Retention,    and    Supplementary
           Payments
           A.    This policy is subject to a Self-Insured Retention
                 applicable to each Wrongful Act which must be paid by
                 the first Named Insured. The Self-Insured Retention
                 includes the payment of Claims Expenses and/or
                 Damages within the limit shown in the Declarations as
                 the Self-Insured Retention.
           B.    Once the Self-Insured Retention has been paid and
                 subject to the terms of this policy, the Company shall
                 have the rights and duty to defend the Insured(s) against
                 a Claim covered by this policy, except where otherwise
                 excluded. The Company shall have no obligation to
                 defend any Claim that is not covered by this policy and
                 no obligation to defend after the applicable Limit of
                 Liability has been exhausted.
           C.    Before the Self-Insured Retention is exhausted, the first
                 Named Insured has the right to appoint defense counsel,
                 subject to the Company’s written consent and approval,
                 to defend a Claim against the Insured(s).           The
                 Company, at its sole discretion, may withdraw approval
                 of counsel and require the first Named Insured to
                 appoint a different defense counsel subject to the
                 Company’s written consent and approval …
     SECTION II - WHO IS AN INSURED
     1.    Each of the following is an Insured:
           A.    The Named Insured as shown in the Declarations …
                                 ***
           D.    The Named Insured’s elected or appointed officials but
                 only for Wrongful Acts while acting within the course
                 and scope of their duties for the Named Insured; and

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           E.    Boards, commissions, or other governmental units, and
                 authorized members and officials thereof, created by,
                 operated by and under the Named Insured within an
                 apportionment of the total operating budget stated in the
                 application for this insurance, but only for Wrongful
                 Acts while acting within the course and scope of their
                 duties for the Named Insured …
                                  ***
     SECTION IV – GENERAL CONDITIONS
     1.    Action Against the Company
           No action shall lie against the Company unless, as a condition
           precedent thereto, all of the terms of this policy shall have been
           fully complied with, nor until the amount of an Insured's
           obligation to pay shall have been finally determined either by a
           final judgment against the Insured or by written agreement of
           the first Named Insured, the claimant and the Company …
                                  ***
     SECTION VI - EXCLUSIONS
     This policy does not apply to, and the Company has no obligation to
     defend any Claim …
     7.    Arising out of:
                                  ***
           B.    Violation of public occupancy or violation of property
                 rights: …
                                  ***
     9.    Arising out of:
                                  ***
           B.    Tax collection, or the improper administration of taxes or
                 loss that reflects any tax obligation.
                                  ***


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     12.   Arising out of eminent domain, condemnation, inverse
           condemnation, temporary or permanent taking, adverse
           possession, or dedication by adverse use; …
                                  ***
     15.   Arising out of fraud, dishonesty, intentional acts or omissions,
           or criminal acts or omissions committed by or at the direction
           of the Insured, or the willful violation of any federal, state or
           local statute, ordinance, rule, or regulation committed by or
           with the knowledge or consent of the Insured. However, if a
           Claim made against the Insured also seeks compensatory
           Damages, the Company will afford a defense to such action
           subject to the Self-Insured Retention and defense provisions of
           this policy, until such time as a finding or judgment is entered
           that such conduct or violations occurred. The Company shall
           have no obligation to pay any monetary awards, amounts, fees,
           costs or expenses in connection with such a finding or
           judgment.
                                  ***
     21.   Seeking relief or redress in any form other than compensatory
           Damages. However, if a Claim against the Insured also seeks
           compensatory Damages, the Company will afford a defense to
           such action subject to the Self-Insured Retention and defense
           provisions of this policy, but the Company shall not have any
           obligation to pay any fees, costs or expenses incurred as a result
           of any order, award or judgment in any form other than for
           compensatory Damages, including but not limited to orders,
           awards or judgments for injunctive or declaratory relief.
                                  ***
     23.   Arising out of a Claim, proceeding or other circumstance for
           which the Named Insured gave notice under any policy of
           insurance in effect prior to the inception date of this policy,
           including any prior policy issued by the Company or any other
           insurer.
                                  ***
     25.   Seeking fines or punitive, exemplary, treble or multiplied
           damages or other awards that are uninsurable under the law or


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           public policy. However, if a Claim made against the Insured
           also seeks compensatory Damages, the Company will afford a
           defense to such action pursuant to the Self-Insured Retention
           and defense provisions of this policy, but the Company shall
           not have any obligation to pay for fines or punitive, exemplary,
           treble or multiplied damages awards or any costs or interest
           associated therewith.
                                  ***
     27.   Arising out of self-dealing or gaining of any profit,
           remuneration or advantage to which an Insured is or was not
           legally entitled.
                                  ***
     SECTION VII - DEFINITIONS
     Whenever used in this policy, the following words have these
     meanings …
     3.    Claim means any of the following received by an Insured and
           alleging a Wrongful Act during the Policy Period or
           subsequent to the Retroactive Date, if applicable:
           A.    A written demand for Damages or a notice advising an
                 Insured of an intent to sue for Damages or a right to sue
                 for Damages;
           B.    Notice of an arbitration or alternative dispute proceeding
                 seeking Damages to which the Insured must submit or
                 does submit with the Company’s consent; or
           C.    A civil proceeding alleging Damages commenced by the
                 service of a summons, complaint or similar pleading
     4.    Claims Expenses means reasonable and necessary fees, costs
           and expenses charged by an attorney designated by the
           Company, or designated by the Insured with prior written
           consent of the Company, in the investigation and defense of
           any Claim against the Insured, and all other fees, costs, and
           expenses resulting from the investigation, adjustment and
           defense of a Claim. Claims Expenses shall not include wages
           or salaries of employees of the Company or the Insured.


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     5.    The Company means the insurer stated in the Declarations of
           this policy.
     6.    Damages means compensatory damages which the Insured is
           legally obligated to pay as a result of a judgment or settlement
           for a Wrongful Act covered by this policy …
                                   ***
     9.    Insured means a person(s) or organization(s) identified in
           SECTION II - WHO IS AN INSURED …
                                   ***
     11.   Named Insured means the entity named in the Declarations.
     12.   Policy Period means the period of time from the inception date
           of policy stated in the Declarations to the expiration date of this
           policy stated in the Declarations or to any earlier cancellation
           date of this policy …
                                   ***
     16.   Wrongful Act means any of the following committed by an
           Insured in the performance of the Insured’s official duties for
           or on behalf of the Named Insured:
           A.    Any actual or alleged act, error, omission, misstatement,
                 misleading statement, neglect or breach of duty; or
           B.    Any Wrongful Employment Practice.
           Wrongful Act includes a series of connected or interrelated
           acts, errors, omissions, misstatements, misleading statements,
           neglect, breaches of duty, or Wrongful Employment Practices
           committed by one or more Insureds in performance of the
           Insured’s official duties, all of which shall be considered one
           Wrongful Act.
     17.   Wrongful Employment Practice means any of the following
           acts or practices:
           A.    Discrimination in hiring, promotion, advancement,
                 opportunity, demotion, discipline or pay (including
                 discrimination based on age, gender, race, color, national


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                  origin, religion, sexual orientation or preference,
                  pregnancy or disability);
           B.     Harassment, coercion or creation of an intimidating,
                  hostile or offensive work environment;
           C.     Wrongful demotion, discipline, dismissal, reassignment,
                  discharge or termination (whether actual or constructive);
           D.     Wrongful failure to employ;
           E.     Employment-related       libel,   slander,    defamation,
                  humiliation or invasion of privacy;
           F.     Failure to provide or enforce adequate or consistent
                  policies or procedures relating to employment practices;
           G.     Employment-related violation of an individual’s civil
                  rights;
           H.     Employment-related negligent infliction of emotional
                  distress; and
           I.     Retaliatory treatment due to the actual or attempted
                  exercise of an Employee’s rights under the law or an
                  Employee’s disclosure or threatened disclosure of
                  activities by the Insured that may violate law or the
                  Employee’s cooperation in any investigation or
                  proceeding into whether the Insured’s activities may
                  violate law.
                                  ***
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ
                      IT CAREFULLY.
                SELF-INSURED RETENTION ENDORSEMENT
     This endorsement modifies insurance provided under the following
     Coverage Forms:
        LAW ENFORCEMENT LIABILITY
        PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES
        LIABILITY EDUCATORS LEGAL LIABILITY AND
        EMPLOYMENT PRACTICES LIABILITY


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     This endorsement changes the policy effective on the inception date of
     the policy unless another endorsement effective date is indicated
     below.
                                 SCHEDULE
     Self-Insured Retention           $350,000     Per Wrongful Act

     This policy is subject to a Self-Insured Retention in the Per Wrongful
     Act amount set forth in the Schedule above. The Wrongful Act Self-
     Insured Retention may be met by the payment of Claims Expenses,
     Damages or a combination of both. The provisions of the policy apply
     unless modified by this endorsement. In the event of a conflict
     between or among the provisions set forth in this endorsement and the
     policy, the terms of this endorsement shall control. The provisions of
     this endorsement are conditions precedent that must be complied with
     in order for the policy’s coverage to apply …
     1.    SELF-INSURED RETENTION
           The Company’s obligation to pay Claims Expenses and
           Damages on behalf of the Insured applies only to amounts in
           excess of the applicable Self-Insured Retention shown in the
           above Schedule.
           The Self-Insured Retention is primary and underlying to the
           insurance provided by the policy and can only be satisfied when
           the full amount of the retention is paid by the first Named
           Insured. After the first Named Insured has paid the amount of
           the applicable Self-Insured Retention, the Company will pay
           on the Insured’s behalf, or reimburse the Insured for paying
           Claims Expenses or Damages in excess of the applicable Self-
           Insured Retention. The Company’s payment of Damages shall
           be subject to the Limits of Liability shown in the Declarations
           for the policy …
     2.    SELF-INSURED RETENTION PER WRONGFUL ACT
           If a Per Wrongful Act Self-Insured Retention amount is shown
           in the above Schedule, it is a condition precedent to the
           Company’s liability under the policy that the first Named
           Insured make actual payment of all Claim Expenses and



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             Damages until the first Named Insured has paid the amount
             equal to the applicable Per Wrongful Act amount …
      3.     LIMITS OF LIABILITY
             The Wrongful Act Limit of Liability on the policy is excess
             over the Wrongful Act Self-Insured Retention …
                                    ***
      10.    DEFENSE & SETTLEMENT
                                    ***
             C.    The Company, at its sole discretion, has the right but not
                   the duty to associate itself in the defense of any Claim or
                   Suit …
            The Safety National Commercial General Liability Policy

      45.    Safety National issued its Commercial General Liability (“CGL”)

Policy No. GLA4052188 to Genesee County for the period from December 15,

2016 to December 15, 2017, and the policy was renewed for the 2017-2018 and

2018-2019 policy years. A copy of this policy is attached hereto as Exhibit “D.”

      46.    Safety National’s CGL Policy has liability limits of $2 million Each

Occurrence (combined “bodily injury” & “property damage”); $2 million Personal

& Advertising Injury limit; and $4 million in the General Aggregate, subject to a

self-insured retention (“SIR”) of $350,000 Per “Occurrence,” which applies to both

indemnity and “defense costs”

      47.    Safety National’s CGL Policy contains a Governmental Subdivisions

Endorsement, which amends Section II – Who Is An Insured to include “any



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elective or appointed officer or member of any board or commission or agency of

yours while acting within the scope of their duties as such.”

      48.    Safety National’s CGL Policy, provides, in relevant part, as follows:

       COMMERCIAL GENERAL LIABILITY COVERAGE FORM
      Various provisions in this policy restrict coverage. Read the entire
      policy carefully to determine rights, duties and what is and is not
      covered.
      Throughout this policy the words “you” and “your” refer to the
      Named Insured shown in the Declarations, and any other person or
      organization qualifying as a Named Insured under this policy. The
      words “we,” “us” and “our” refer to the company providing this
      insurance.
      The word “insured” means any person or organization qualifying as
      such under Section II – Who is An Insured.
      Other words and phrases that appear in quotation marks have special
      meaning. Refer to Section V - Definitions.
      SECTION I – COVERAGES
      COVERAGE A - BODILY INJURY                        AND     PROPERTY
      DAMAGE LIABILITY
      1.     Insuring Agreement
             a.    We will pay those sums that the insured becomes legally
                   obligated to pay as damages because of “bodily injury”
                   or “property damage” to which this insurance applies.
                   We will have the right and duty to defend the insured
                   against any “suit” seeking those damages. However, we
                   will have no duty to defend the insured against any “suit”
                   seeking damages for “bodily injury” or “property
                   damage” to which this insurance does not apply …

             b.    This insurance applies to “bodily injury” and “property
                   damage” only if:



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                 (1)   The “bodily injury” or “property damage” is
                       caused by an “occurrence” that takes place in the
                       “coverage territory”;

                 (2)   The “bodily injury” or “property damage” occurs
                       during the policy period; and
                 (3)   Prior to the policy period, no insured listed in
                       Paragraph 1. of Section II – Who Is An Insured
                       and no “employee” authorized by you to give or
                       receive notice of an “occurrence” or claim knew
                       that the “bodily injury” or “property damage” had
                       occurred, in whole or in part. If such a listed
                       insured or authorized “employee” knew, prior to
                       the policy period, that the “bodily injury” or
                       “property      damage”     occurred,    then    any
                       continuation, change or resumption of such
                       “bodily injury” or “property damage” during or
                       after the policy period will be deemed to have been
                       known prior to the policy period.
           c.    “Bodily injury” or “property damage” which occurs
                 during the policy period and was not, prior to the policy
                 period, known to have occurred by any insured listed
                 under paragraph 1. of Section II – Who Is An Insured or
                 any “employee” authorized by you to give or receive
                 notice of an “occurrence” or claim, includes any
                 continuation, change or resumption of that “bodily
                 injury” or “property damage” after the end of the policy
                 period.

           d.    “Bodily injury” or “property damage” will be deemed to
                 have been known to have occurred at the earliest time
                 when any insured listed under Paragraph 1. of Section II
                 – Who Is An Insured or any “employee” authorized by
                 you to give or receive notice of an “occurrence” or claim:

                 (1)   Reports all, or any part, of the “bodily injury” or
                       “property damage” to us or any other insurer;




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                 (2)    Receives a written or verbal demand or claim for
                        damages because of the “bodily injury” or
                        “property damage”; or

                 (3)    Becomes aware by any other means that “bodily
                        injury” or “property damage” has occurred or has
                        begun to occur….

     2.    Exclusions
           This insurance does not apply to:

           a.    Expected Or Intended Injury
                 “Bodily injury” or “property damage” expected or
                 intended from the standpoint of the insured. This
                 exclusion does not apply to “bodily injury” resulting
                 from the use of reasonable force to protect persons or
                 property …

     COVERAGE B - PERSONAL AND ADVERTISING INJURY
     LIABILITY
     1.    Insuring Agreement
           a.    We will pay those sums that the insured becomes legally
                 obligated to pay as damages because of “personal and
                 advertising injury” to which this insurance applies. We
                 will have the right and duty to defend the insured against
                 any “suit” seeking those damages. However, we will
                 have no duty to defend the insured against any “suit”
                 seeking damages for “personal and advertising injury” to
                 which this insurance does not apply …
           b.    This insurance applies to “personal and advertising
                 injury” caused by an offense arising out of your business
                 but only if the offense was committed in the “coverage
                 territory” during the policy period.
     2.    Exclusions
           This insurance does not apply to:


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           a.    Knowing Violation Of Rights Of Another
                 “Personal and advertising injury” caused by or at the
                 direction of the insured with the knowledge that the act
                 would violate the rights of another and would inflict
                 “personal and advertising injury” …
     SECTION II – WHO IS AN INSURED
     1.    If you are designated in the Declarations as …

                                  ***
           d.    An organization other than a partnership, joint venture or
                 limited liability company, you are an insured. Your
                 “executive officers” and directors are insured, but only
                 with respect to their duties as your officers or directors.
                 Your stockholders are also insured, but only with respect
                 to their liability as stockholders …
                                  ***

     SECTION IV – COMMERCIAL GENERAL LIABILITY
     CONDITIONS
                                  ***

     3.    Legal Action Against Us
           No person or organization has a right under this Coverage Part:

                                  ***
           b.    To sue us on this Coverage Part unless all of its terms
                 have been fully complied with …
     SECTION V – DEFINITIONS
                                  ***
     3.    “Bodily injury” means bodily injury, sickness or disease
           sustained by a person, including death resulting from any of
           these at any time …
                                  ***


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     5.    “Employee” includes a “leased worker”. “Employee” does not
           include a “temporary worker”.
     6.    “Executive officer” means a person holding any of the officer
           positions created by your charter, constitution, bylaws or any
           other similar governing document …
                                  ***
     13.   “Occurrence” means an accident, including continuous or
           repeated exposure to substantially the same general harmful
           conditions.
     14.   “Personal and advertising injury” means injury, including
           consequential “bodily injury”, arising out of one or more of the
           following offenses:
           a.    False arrest, detention or imprisonment;
           b.    Malicious prosecution;
           c.    The wrongful eviction from, wrongful entry into, or
                 invasion of the right of private occupancy of a room,
                 dwelling or premises that a person occupies, committed
                 by or on behalf of its owner, landlord or lessor;
           d.    Oral or written publication, in any manner, of material
                 that slanders or libels a person or organization or
                 disparages a person’s or organization’s goods, products
                 or services;
           e.    Oral or written publication, in any manner, of material
                 that violates a person’s right of privacy;
           f.    The use of another’s advertising idea in your
                 “advertisement”; or
           g.    Infringing upon another’s copyright, trade dress or slogan
                 in your “advertisement” …
                                  ***
     17.   “Property damage” means:
           a.    Physical injury to tangible property, including all


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                 resulting loss of use of that property. All such loss of use
                 shall be deemed to occur at the time of the physical
                 injury that caused it; or
           b.    Loss of use of tangible property that is not physically
                 injured. All such loss of use shall be deemed to occur at
                 the time of the “occurrence” that caused it.
           For the purposes of this insurance, electronic data is not
           tangible property.
           As used in this definition, electronic data means information,
           facts or programs stored as or on, created or used on, or
           transmitted to or from computer software, including systems
           and applications software, hard or floppy disks, CD-ROMS,
           tapes, drives, cells, data processing devices or any other media
           which are used with electronically controlled equipment …
                                  ***
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ
                      IT CAREFULLY.
             SELF-INSURED RETENTION ENDORSEMENT
     This endorsement modifies insurance provided under the following
     Coverage Forms:
          COMMERCIAL          GENERAL        LIABILITY        COVERAGE
          FORM …

     This endorsement changes the policy effective on the inception date of
     the policy unless another endorsement effective date is indicated
     below.
                                 SCHEDULE
     Self-Insured Retention           $350,000      Per “Occurrence”

                                  CHANGE
     I.    The coverage sections of the policy pertaining to BODILY
           INJURY AND PROPERTY DAMAGE LIABILITY,
           PERSONAL AND ADVERTISING INJURY LIABILITY,


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           MEDICAL PAYMENTS, LIQUOR LIABILITY and
           SUPPLEMENTARY PAYMENTS are modified to provide
           the additional provisions noted below.
           A. SELF-INSURED RETENTION
           Our obligation to pay damages, medical expenses and “defense
           costs” to, or on behalf of, the “insured” applies only to that
           portion of the “Ultimate Net Loss” in excess of the applicable
           Self-Insured Retention shown in the above Schedule, subject to
           any below described Aggregate Self-Insured Retention
           Amount.
           After you have paid the amount of the applicable Self-Insured
           Retention, we will pay on your behalf, or reimburse you for
           paying such damages, medical expenses or “defense costs” in
           excess of the applicable Self-Insured Retention. Our payment
           of damages and medical expenses shall be subject to the Limits
           of Insurance shown in the Declarations for the Coverage Form.
           The amount that would otherwise be payable by us as damages,
           medical expenses or “defense costs” under the above described
           LIABILITY COVERAGES, will be reduced by the amount of
           the Self-Insured Retention.
           1.    SELF-INSURED               RETENTION               PER
                 OCCURRENCE
                 If a Per Occurrence Self-Insured Retention amount is
                 shown in the above Schedule, it is a condition precedent
                 to our liability under the Coverage Form that you make
                 actual payment of all damages, medical expenses and
                 “defense costs” for each “occurrence” or offense until
                 you have paid the Self-Insured Retention amount and
                 “defense costs” equal to the applicable Per Occurrence
                 amount shown in the Schedule….
     B.    LIMITS OF INSURANCE
           The applicable LIMIT OF INSURANCE provisions apply with
           the following change:
           The Limit of Insurance applies over the Self-Insured Retention
           shown in the Schedule …
     D.    DEFENSE & SETTLEMENT shall be added as follows;

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            1.    You may not settle any claim or “suit” that exceeds the
                  applicable Self-Insured Retention amount without our
                  written permission to do so. If you fail to obtain our
                  written permission, we shall have no obligation to
                  provide coverage for that claim or “suit” under this
                  policy.
            2.    We have the right but not the duty to associate ourselves
                  in or assume control of the defense of any claim or “suit”
                  which in our sole judgment is likely to exceed the Self-
                  Insured Retention …
     III.   ADDITIONAL DEFINITIONS
            The following are added to the DEFINITIONS Section of each
            of the above-listed Coverage Forms:
            “Defense Costs” means, with respect to each “occurrence”,
            offense or claim:
            Expenses directly allocable to specific claims and shall include
            but not be limited to all Supplementary Payments as defined
            under the policy; all court costs, fees and expenses; costs for all
            attorneys, witnesses, experts, depositions, reported or recorded
            statements, summonses, service of process . . .and any other
            fees, costs or expenses reasonably chargeable to the
            investigation, negotiation, settlement or defense of a claim or
            loss under the policy.
            “Ultimate Net Loss” means, with respect to each “occurrence”
            or offense, the total of:
            1.    All sums that the “insured” is legally liable to pay as
                  damages, because of liability to which this insurance
                  applies, determined either through final adjudication or
                  through compromise settlement with our consent, after
                  making proper deductions for all recoveries; and
            2.    All sums that are covered as damages, medical expenses
                  or “defense costs” under the Coverage Form.
                                    ***




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  COUNT I – DECLARATORY JUDGMENT RE: SAFETY SPECIALTY’S
   PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY
                          POLICY
              WITH REGARD TO THE FOX LAWSUIT
      49.    Plaintiffs reallege the allegations in Paragraphs 1 through 48 as if they

were set forth fully herein.

      50.    Defendants are not entitled to insurance coverage under the Safety

Specialty PO&EPL Policy for the Fox Lawsuit because the Fox Lawsuit does not

allege a “wrongful act” as that term is defined by the Safety Specialty PO&EPL

Policy.

      51.    Alternatively, Defendants are not entitled to insurance coverage under

the Safety Specialty PO&EPL Policy because the Fox Lawsuit does not allege

“damages” as that term is defined by the Safety Specialty PO&EPL Policy.

      52.    Alternatively, Defendants are not entitled to insurance coverage under

the Safety Specialty PO&EPL Policy for the Fox Lawsuit to the extent that any

insured under the terms of the Policy gave notice under any insurance policy other

than Safety Specialty’s PO&EPL Policy in regard to the “wrongful acts” alleged to

be at issue in the Fox Lawsuit.

      53.    Alternatively, Defendants are not entitled to insurance coverage under

the Safety Specialty PO&EPL Policy for the Fox Lawsuit to the extent that any

“insured” knew or had a basis to believe, prior to the December 15, 2018 policy

inception date of the Policy, that circumstances alleged in the Fox Lawsuit might


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reasonably be expected to result in or give rise to a “claim” as that term is defined

by Safety Specialty’s PO&EPL Policy.

       54.     Alternatively, the Violation of Public Occupancy or Property Rights

Exclusion (Exclusion No. 7(B)) to the Safety Specialty PO&EPL Policy bars

coverage for the Fox Lawsuit.

       55.     Alternatively, the Tax Collection Exclusion (Exclusion No. 9(B)) to

the Safety Specialty PO&EPL Policy bars coverage for the Fox Lawsuit.

        56. Alternatively, the Inverse Condemnation and/or Temporary or

 Permanent Taking Exclusion (Exclusion No. 12) to the Safety Specialty PO&EPL

 Policy bars coverage for the Fox Lawsuit.

       57.     Alternatively, Exclusion No. 15 to the Safety Specialty PO&EPL

Policy bars coverage for the Fox Lawsuit to the extent the Fox Lawsuit alleges a

claim arising out of fraud, dishonesty, intentional acts or omissions, or criminal

acts or omissions committed by or at the direction of the Insured.

       58.     Alternatively, Exclusion No. 15 to the Safety Specialty PO&EPL

Policy bars coverage for the Fox Lawsuit to the extent the Fox Lawsuit alleges a

claim arising out of the willful violation of any federal, state or local statute,

ordinance, rule, or regulation committed by or with the knowledge or consent of

the Insured.




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      59.   Alternatively, Exclusion No. 21 to the Safety Specialty PO&EPL

Policy bars coverage for the Fox Lawsuit to the extent the Fox Lawsuit seeks relief

or redress in any form other than compensatory damages.

      60.   Alternatively, Exclusion No. 23 to the Safety Specialty PO&EPL

Policy bars coverage to the extent that any insured under said Policy gave notice of

a “claim,” proceeding or other circumstance involving the matters alleged in the

Fox Lawsuit under any other policy of insurance in effect prior to the December

15, 2018 inception date of the Safety Specialty PO&EPL policy.

      61.   Alternatively, Exclusion No. 26 to the Safety Specialty PO&EPL

Policy bars coverage to the extent that the Fox Lawsuit seeks fines, punitive

damages, or “other types of awards that are uninsurable under the law or public

policy.”

      62.   Alternatively, the Self-Dealing Exclusion (Exclusion No. 27) to the

Safety Specialty PO&EPL Policy bars coverage for the Fox Lawsuit.

      63.   Alternatively, Defendants are not entitled to insurance coverage under

the Safety Specialty PO&EPL Policy for the Fox Lawsuit to the extent it has been

alleged in the Fox Lawsuit that Cherry committed a “wrongful act” while acting

outside the course and scope of her official duties as Treasurer for Genesee

County.




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      WHEREFORE, the Plaintiffs, SAFETY SPECIALTY INSURANCE

COMPANY and SAFETY NATIONAL CASUALTY COMPANY respectfully

requests that this Court find and declare as follows:

      (A)    Plaintiff, SAFETY SPECIALTY INSURANCE COMPANY, does not
             owe Defendants, COUNTY OF GENESEE by its BOARD OF
             COMMISSIONERS, and DEBORAH CHERRY, insurance coverage
             (defense or indemnity) under SAFETY SPECIALTY’s Public
             Officials and Employment Practices Liability Policy No.
             POC4056122 as issued to the COUNTY OF GENESEE by its
             BOARD OF COMMISSIONERS in regard to the Fox Lawsuit; and

      (B)    Plaintiff, SAFETY SPECIALTY INSURANCE COMPANY, is
             entitled to such additional relief as this Court deems just and
             equitable.

 COUNT II – DECLARATORY JUDGMENT RE: SAFETY SPECIALTY’S
  PUBLIC OFFICIALS AND EMPLOYMENT PRACTICES LIABILITY
                          POLICY
              WITH REGARD TO THE PUCHLAK SUIT
       64. Plaintiffs reallege the allegations in Paragraphs 1 through 63 as if they

were set forth fully herein.

      65.    Defendants are not entitled to insurance coverage under the Safety

Specialty PO&EPL Policy because the Puchlak Lawsuit does not allege a

“wrongful act” as that term is defined by the Safety Specialty PO&EPL Policy.

      66.    Alternatively, Defendants are not entitled to insurance coverage under

the Safety Specialty PO&EPL Policy because the Puchlak Lawsuit does not allege

“damages” as that term is defined by the Safety Specialty PO&EPL Policy.




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       67. Alternatively, Defendants are not entitled to insurance coverage under

the Safety Specialty PO&EPL Policy for the Puchlak Lawsuit to the extent that

any insured under the terms of the Policy gave notice under any insurance policy

other than Safety Specialty’s PO&EPL Policy in regard to the “wrongful acts”

alleged to be at issue in the Puchlak Lawsuit.

      68.   Alternatively, Defendants are not entitled to insurance coverage under

the Safety Specialty PO&EPL Policy for the Puchlak Lawsuit to the extent that any

“insured” knew or had a basis to believe, prior to the December 15, 2018 policy

inception date of the Policy, that circumstances alleged in the Puchlak Lawsuit

might reasonably be expected to result in or give rise to a “claim” as that term is

defined by Safety Specialty’s PO&EPL Policy.

      69.   Alternatively, the Violation of Public Occupancy or Property Rights

Exclusion (Exclusion No. 7(B)) to the Safety Specialty PO&EPL Policy bars

coverage for the Puchlak Lawsuit.

      70.   Alternatively, the Tax Collection Exclusion (Exclusion No. 9(B)) to

the Safety Specialty PO&EPL Policy bars coverage for the Puchlak Lawsuit.

      71.   Alternatively, the Inverse Condemnation and/or Temporary or

Permanent Taking Exclusion (Exclusion No. 12) to the Safety Specialty PO&EPL

Policy bars coverage for the Puchlak Lawsuit.




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      72.    Alternatively, Exclusion No. 15 to the Safety Specialty PO&EPL

Policy bars coverage for the Puchlak Lawsuit to the extent the Puchlak Lawsuit

alleges a claim arising out of fraud, dishonesty, intentional acts or omissions, or

criminal acts or omissions committed by or at the direction of the Insured.

      73.    Alternatively, Exclusion No. 15 to the Safety Specialty PO&EPL

Policy bars coverage for the Puchlak Lawsuit to the extent the Puchlak Lawsuit

alleges a claim arising out of the willful violation of any federal, state or local

statute, ordinance, rule, or regulation committed by or with the knowledge or

consent of the Insured.

       74. Alternatively, Exclusion No. 21 to the Safety Specialty PO&EPL

Policy bars coverage for the Fox Lawsuit to the extent the Puchlak Lawsuit seeks

relief or redress in any form other than compensatory damages.

      75.    Alternatively, Exclusion No. 23 to the Safety Specialty PO&EPL

Policy bars coverage to the extent that any insured under said Policy gave notice of

a “claim,” proceeding or other circumstance involving the matters alleged in the

Puchlak Lawsuit under any other policy of insurance in effect prior to the

December 15, 2018 inception date of the Safety Specialty PO&EPL policy.

      76.    Alternatively, Exclusion No. 26 to the Safety Specialty PO&EPL

Policy bars coverage to the extent that the Puchlak Lawsuit seeks fines, punitive




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damages, or “other types of awards that are uninsurable under the law or public

policy.”

      77.    Alternatively, the Self-Dealing Exclusion (Exclusion No. 27) to the

Safety Specialty PO&EPL Policy bars coverage for the Puchlak Lawsuit.

      78.    Alternatively, Defendants are not entitled to insurance coverage under

the Safety Specialty PO&EPL Policy for the Puchlak Lawsuit to the extent it has

been alleged in the Puchlak Lawsuit that Cherry committed a “wrongful act” while

acting outside the course and scope of her official duties as Treasurer for Genesee

County.

      WHEREFORE, the Plaintiffs, SAFETY SPECIALTY INSURANCE

COMPANY and SAFETY NATIONAL CASUALTY COMPANY respectfully

requests that this Court find and declare as follows:

      (A)    Plaintiff, SAFETY SPECIALTY INSURANCE COMPANY, does not
             owe Defendants, COUNTY OF GENESEE by its BOARD OF
             COMMISSIONERS, DEBORAH CHERRY, insurance coverage
             (defense or indemnity) under SAFETY SPECIALTY’s Public
             Officials and Employment Practices Liability Policy No.
             POC4056122 as issued to the COUNTY OF GENESEE by its
             BOARD OF COMMISSIONERS in regard to the Puchlak Lawsuit;
             and

      (B)    Plaintiff, SAFETY SPECIALTY INSURANCE COMPANY, is
             entitled to such additional relief as this Court deems just and
             equitable.

 COUNT III – DECLARATORY JUDGMENT RE: SAFETY NATIONAL’S
           COMMERCIAL GENERAL LIABILITY POLICY
              WITH REGARD TO THE FOX LAWSUIT


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      79.    Plaintiffs reallege the allegations in Paragraphs 1 through 78 as if they

were set forth fully herein.

      80.    Defendants are not entitled to insurance coverage under Coverage Part

A – Bodily Injury and Property Damage Liability of the Safety National CGL

Policy because the Fox Lawsuit fails to allege that either the County of Genesee by

its Board of Commissioners or Cherry, in her individual or official capacity, has

become legally obligated to pay damages because of “bodily injury” or “property

damage” to which the Safety National CGL Policy applies, caused by an

“occurrence” during the policy period, as those terms are defined by the Safety

National CGL Policy.

      81.    Alternatively, the Expected or Intended Exclusion (Exclusion 2(a)) to

Coverage Part A of the Safety National CGL Policy bars coverage for the Fox

Lawsuit.

      82.    Alternatively, Defendants are not entitled to insurance coverage under

Coverage Part B – Personal and Advertising Injury Liability of the Safety National

CGL Policy because the Fox Lawsuit fails to allege that either the County of

Genesee by its Board of Commissioners or Cherry, in her individual or official

capacity, has become legally obligated to pay damages because of “personal and

advertising injury” caused by an offense arising out of the Defendants’ business




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that was committed in the “coverage territory” during the policy period, as those

terms are defined by the Safety National CGL Policy.

      83.    Alternatively, the Knowing Violation of Rights of Another Exclusion

(Exclusion 2(a)) to Coverage Part B of the Safety National GCL Policy bars

coverage for the Fox Lawsuit.

      WHEREFORE, the Plaintiffs, SAFETY SPECIALTY INSURANCE

COMPANY and SAFETY NATIONAL CASUALTY COMPANY respectfully

requests that this Court find and declare as follows:

      (A)    Plaintiff, SAFETY NATIONAL CASUALTY COMPANY, does not
             owe Defendants, COUNTY OF GENESEE by its BOARD OF
             COMMISSIONERS, DEBORAH CHERRY, insurance coverage
             (defense or indemnity) under SAFETY NATIONAL’s Commercial
             General Liability Policy No. GLA4052188 as issued to the COUNTY
             OF GENESEE by its BOARD OF COMMISSIONERS in regard to
             the Fox Lawsuit; and

      (B)    Plaintiff, SAFETY NATIONAL CASUALTY COMPANY, is entitled
             to such additional relief as this Court deems just and equitable.

 COUNT IV – DECLARATORY JUDGMENT RE: SAFETY NATIONAL’S
          COMMERCIAL GENERAL LIABILITY POLICY
           WITH REGARD TO THE PUCHLAK LAWSUIT
       84. Plaintiffs reallege the allegations in Paragraphs 1 through 83 as if they

were set forth fully herein.

      85.    Defendants Are not entitled to insurance coverage under Coverage

Part A – Bodily Injury and Property Damage Liability of the Safety National CGL

Policy because the Puchlak Lawsuit fails to allege that either the County of


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Genesee by its Board of Commissioners or Cherry, in her individual or official

capacity, has become legally obligated to pay damages because of “bodily injury”

or “property damage” to which the Safety National CGL Policy applies, caused by

an “occurrence” during the policy period, as those terms are defined by the Safety

National CGL Policy.

      86.   Alternatively, the Expected or Intended Exclusion (Exclusion 2(a)) to

Coverage Part A of the Safety National CGL Policy bars coverage for the Puchlak

Lawsuit.

      87.   Alternatively, Defendants are not entitled to insurance coverage under

Coverage Part B – Personal and Advertising Injury Liability of the Safety National

CGL Policy because the Puchlak Lawsuit fails to allege that either the County of

Genesee by its Board of Commissioners or Cherry, in her individual or official

capacity, has become legally obligated to pay damages because of “personal and

advertising injury” caused by an offense arising out of the Defendants’ business

that was committed in the “coverage territory” during the policy period, as those

terms are defined by the Safety National CGL Policy.

      88.   Alternatively, the Knowing Violation of Rights of Another Exclusion

(Exclusion 2(a)) to Coverage Part B of the Safety National GCL Policy bars

coverage for the Puchlak Lawsuit.




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      WHEREFORE, the Plaintiffs, SAFETY SPECIALTY INSURANCE

COMPANY and SAFETY NATIONAL CASUALTY COMPANY respectfully

requests that this Court find and declare as follows:

      (A)    Plaintiff, SAFETY NATIONAL CASUALTY COMPANY, does not
             owe Defendants, COUNTY OF GENESEE by its BOARD OF
             COMMISSIONERS, DEBORAH CHERRY, insurance coverage
             (defense or indemnity) under SAFETY NATIONAL’s Commercial
             General Liability Policy No. GLA4052188 as issued to the COUNTY
             OF GENESEE by its BOARD OF COMMISSIONERS in regard to
             the Puchlak Lawsuit; and

      (B)    Plaintiff, SAFETY NATIONAL CASUALTY COMPANY, is entitled
             to such additional relief as this Court deems just and equitable.

                                       Respectfully submitted,

                                       By: /s/ Adam P. Sadowski
                                       Adam P. Sadowski (P73864)
                                       Gallagher Sharp LLP
                                       244 West Fort Street, Suite 660
                                       Detroit, MI 48226
                                       (313) 424-4648
                                       asadowski@gallaghersharp.com

                                       Richard C. Rezie (Ohio Bar No.0071321)
                                       Gallagher Sharp LLP
                                       1215 Superior Avenue, 7th Floor
                                       Cleveland, OH 44114
                                       (216) 522-1097
                                       rrezie@gallaghersharp.com




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                                   John D. Hackett (admission pending)
                                   Cassiday Schade LLP
                                   222 W. Adams Street
                                   Suite 2900
                                   Chicago, IL 60606
                                   (312) 641-3100
                                   jhackett@cassiday.com

                                   Christopher C. Cassidy (admission pending)
                                   Cassiday Schade LLP
                                   222 W. Adams Street
                                   Suite 2900
                                   Chicago, IL 60606
                                   (312) 641-3100
                                   ccassidy@cassiday.com

                                   Attorneys for Plaintiffs




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